32 F.3d 563
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Eric SAMUELS, Plaintiff Appellant,v.William E. REED, III, Police Officer, Charleston CountyPolice Department, Defendant Appellee.
    No. 94-6324.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 19, 1994Decided Aug. 8, 1994.
    
      Appeal from the United States District Court for the District of South Carolina, at Charleston.  Charles E. Simons, Jr., Senior District Judge.  (CA-93-1129-2-6-BC)
      Eric Samuels, Appellant Pro Se.
      James Albert Stuckey, Jr., Stuckey &amp; Kobrovsky, Charleston, SC, for appellee.
      D.S.C.
      AFFIRMED.
      Before HALL, LUTTIG, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Samuels v. Reed, No. CA-93-1129-2-6-BC (D.S.C. Mar. 15, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    